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                        It IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    AMYRIS, INC., et al.,1                                   Case No. 23-11131 (TMH)

                              Debtors.                       (Jointly Administered)

                                                             Re: Docket No. 1263

                   CERTIFICATE OF NO OBJECTION REGARDING FIFTH
               MONTHLY APPLICATION OF POTTER ANDERSON & CORROON
                 LLP FOR COMPENSATION FOR SERVICES RENDERED AND
              REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
             COMMITTEE OF UNSECURED CREDITORS OF AMYRIS, INC., ET AL.
              FOR THE PERIOD JANUARY 1, 2024 THROUGH JANUARY 31, 2024

             The undersigned hereby certifies that they have received no answer, objection, or any other

responsive pleading with respect to the Fifth Monthly Fee Application of Potter Anderson &

Corroon LLP for Compensation for Services Rendered and for Reimbursement of Expenses as

Counsel to the Official Committee of Unsecured Creditors of Amyris, Inc, et al. for the Period

January 1, 2024 Through January 31, 2024 [Docket No. 1263] (the “Application”) filed by Potter

Anderson & Corroon LLP (the “Applicant”). The undersigned further certifies that they have

reviewed the Court’s dockets in these cases and no formal answer, objection, or other response to

the Application appears thereon.2 The Application was filed with the Court on the date listed on

Exhibit A.




1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      Pursuant to the Interim Compensation Order, parties have fourteen (14) days after the date of service to object to
      the Application.


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         Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Docket No. 279] (the “Interim Compensation

Order”), the Debtors are authorized and directed to pay the Applicant eighty percent (80%) of the

fees and one hundred percent (100%) of the expenses requested in the Application upon the filing

of this Certificate of No Objection, without the need for entry of a Court order approving the

Application.




                                   [Signature Page Follows]




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Dated: March 1, 2024                Respectfully submitted,
       Wilmington, Delaware
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                                    Katelin A. Morales (No. 6683)
                                    Sameen Rizvi (No. 6902)
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                                                EXHIBIT A


                                           Amyris, Inc., et al.
                                       Case No. 23-11131 (TMH)

                                      Professional Fees and Expenses
                                         Monthly Fee Application



                                              FEES & EXPENSES   FEES & EXPENSES      DATE
         APPLICANT &            TIME PERIOD                                                     OBJECTION
                                               REQUESTED IN        ALLOWED/       APPLICATION
         DOCKET NO.              COVERED                                                        DEADLINE
                                                APPLICATION        AWARDED           FILED
                                                                  $75,870.00
                                                $94,837.50
Potter Anderson & Corroon LLP                                    (Fees at 80%)
                                 1/01/2024        (Fees)
                                     -                                              2/15/24      2/29/24
      [Docket No. 1263]                                           $2,895.85
                                 1/31/2024       $2,895.85
                                                                 (Expenses at
                                                (Expenses)
                                                                    100%)




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